

People v Monterola (2022 NY Slip Op 07307)





People v Monterola


2022 NY Slip Op 07307


Decided on December 22, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 22, 2022

Before: Webber, J.P., Friedman, Gesmer, Shulman, JJ. 


SCI No. 0016/17 Appeal No. 16969 Case No. 2019-1653 

[*1]The People of the State of New York, Respondent,
vNaomi Monterola, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Steven J. Miraglia of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (T. Charles Won of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Marc Whiten, J. at plea; Julio Rodriguez III, J. at sentencing), rendered January 9, 2018, convicting defendant, upon her plea of guilty, of welfare fraud in the third degree, and sentencing her to a conditional discharge for a period of three years, with an order of restitution, by civil judgment, in the amount of $47,264.45, unanimously affirmed.
Defendant validly waived her right to appeal (see People v Thomas, 34 NY3d 545, 561-62 [2019], cert denied 589 US , 140 S Ct 2634 [2020]), thereby foreclosing review
of her claim that the court's order of restitution constituted an excessive sentence.
In any event, we perceive no basis for reducing defendant's sentence. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 22, 2022








